 

 

 

Case 3:19-mj-05206-JRC. Document1 Filed 10/10/19 Page 1 of 25

AO 106 (Rev. 04/10) Application for a Search Warrant (Modified: WAWD 10-26-18)

 

 

 

 

 

 

FILED LODGED
UNITED STATES DISTRICT COURT RECEIVED
for the
Western District of Washington OCT 10 2019
CLERK US. DISTRICT oe AT TACOMA
In the Matter of the Search of ) BY WESTERN DISTRICT OF WASHINGTON Beauty
iefly describe the pr to Bb hed
Briel des the arson be name and address) Case No. MY ey SS ao &
Three subject digital devices, more fully described in ) , 4 ~
Attachment A )
)

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

Three subject digital devices, more fully described in Attachment A, incorporated herein by reference:

located in the Western District of Washington , there is now concealed (identify the
person or describe the property to be seized}:

 

See Attachment B, incorporated herein by reference.

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
of evidence of a crime; _
of contraband, fruits of crime,.or other items illegally possessed;
of property designed for use, intended for use, or used in committing a crime;
(a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
21 U.S.C. § 841, 846 Drug distribution & conspiracy
18 U.S.C. § 1956 Money laundering

The application is based on these facts:
¥ See Affidavit of TFO Ryan Hamilton, continued on the attached sheet.

Delayed notice of 90 days (give exact ending date if more than 30 days: __91/07/2020 __ is requested
under 18 U.S.C.-§.3103a, the basis of which is set forth on the attached sheet.

 

 

My,
Pursuant to Fed. R. Crim. P. 4.1, this warrant is presented: [Joy a4 hic means; or: [J wp recorded.
f 4 [ ¢ Boban

 

 

/ ( Applicant's signature
Ryan Hamilton, DEA Task Force Officer
Printed name and title

© The foregoing affidavit was sworn to before me and signed in my presence, or

© The above-named agent provided a swom statement attesting to the truth of the foregoing Pee
Date: 2 f/o

Jubige "Ssignature

  

City and state: Tacoma, Washington J. Richard Creatura, United States Magistrate Judge
Printed name and title

 

 

USAO: 2019R00280

 
 

Oo Fe nAN KD UN FP WY NY

mM wo NH HN NH NY NY WN HN F&F HF K- YF KF FEF OSE OES S|
on NN ON BR WN KH CO BO fF ADHD WH BP WO YN | &

 

 

Case 3:19-mj-05206-JRC Document1 Filed 10/10/19 Page 2 of 25

AFFIDAVIT

STATE OF WASHINGTON )
COUNTY OF PIERCE ~

I, Ryan J. Hamilton, Task Force Officer, Drug Enforcement Administration
(DEA), United States Department of Justice, being first duly sworn on oath, depose and
state:

MY BACKGROUND AND QUALIFICATIONS

1. I am a duly commissioned Police Investigator for the Lakewood Police
Department and a Task Force Officer (TFO) with the Drug Enforcement Administration
(DEA). Accordingly, I am an investigative or law enforcement officer within the
meaning of Section 2510(7) of Title 18, United States Code, and am empowered by law
to conduct investigations of and to make arrests for offenses enumerated in Title 18,
United States Code, Section 2516. I have been employed by the Lakewood Police
Department since October 2004, most recently in the Narcotics unit. From 2001 to
October 2004, I was a sworn deputy of the Pierce County Sheriff's Department working
on contract with the City of Lakewood. My formal training includes an Associate’s
Degree in Applied Science in Law Enforcement from Green River Community College
and two.additional years at the University of Washington working towards a Bachelor’s
Degree in Law, Society, and Justice (I left one quarter prior to graduation when I was
hired by the Pierce County Sheriffs Department). My coursework included classes in
Criminal Procedure and Criminal Law.

2. Upon joining the Pierce County Sheriff’s Department, I completed 720
hours of training at the Basic Law Enforcement Academy at the Washington State
Criminal Justice Training Center (CJTC), where I was trained in the areas of Criminal
Investigations, Narcotics Investigations, Interview Skills, Criminal Law, Criminal
Procedures, Court Orders, and Search Warrants. I have also completed the 80-hour CJTC

Undercover Operations/Investigations School and an 80-hour CJTC Basic Narcotics

Affidavit of TFO Hamilton - 1 ‘ UNITED STATES ATTORNEY
USAO 2019R00280 700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
 

Oo me aI HD WA BP WY NHN

NO wo NH WH NY NY WN HN HNO wR BeBe Re ee oe
os DN ONO BR WD NY KF DTD OO FHT DB BPW NYO KF O&O

 

 

Case 3:19-mj-05206-JRC Document1 Filed 10/10/19 Page 3 of 25

Investigator course. I served as a Firearms Instructor from 2004 to 2019 and I am
currently a Field Training Officer (FTO) with the focus of training and evaluating newly
hired police officers.

3. I am familiar with investigations of drug trafficking organizations, methods
of importation and distribution of controlled substances, and financial investigations. I
have participated in numerous investigations involving organizations trafficking in
controlled substances which have resulted in arrests of drug traffickers, seizures of
controlled substances, and assets. My training and experience have involved, among
other things: (1) the debriefing of defendants, witnesses, and informants, as well as others
who have knowledge of the distribution and transportation of controlled substances and
of the laundering and concealment of proceeds of drug trafficking; (2) surveillance; (3)
analysis of documentary and physical evidence; and (4) the “undercover” purchases of
controlled substances and negotiations of illegal money laundering transactions

4, I have planned, participated in, and supervised the execution of more than

100 search warrants authorizing the search of locations associated with narcotic
traffickers and their co-conspirators, such as residences, businesses, storage facilities,
outbuildings, safety deposit boxes, and vehicles. I have testified in grand jury
proceedings and written reports in the course of investigations. I have monitored or
overheard numerous calls or meetings between informants or undercover agents, and
drug traffickers. These investigations have resulted in state and federal prosecutions of
individuals who have possessed, imported, or distributed controlled substances, including
marijuana, cocaine, methamphetamine, heroin, and prescription medications, as well as
the seizure of those illegal drugs and the proceeds from their sales. As a result of these
investigations, I have become familiar with methods and techniques used by narcotics
traffickers to import narcotics into the United States and distribute those narcotics within
the United States.

5. I have participated in investigations which involved drug traffickers using

telephone communication as a means of communicating with their associates,

Affidavit of TFO Hamilton - 2 . UNITED STATES ATTORNEY
USAO 2019R00280 700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
 

oOo Oo ND On HR WD NO

NO NO NY NY NH NY NY NY NY & HF HF HF KF FF FOOSE Oe
oo J HN WA BP WW NY | COC OO FP TH A FB WD NY KF OC

 

 

Case 3:19-mj-05206-JRC Document1 Filed 10/10/19 Page 4 of 25

confidential informants, cooperating individuals and undercover officers. I have also
worked and consulted with numerous law enforcement officers experienced in narcotics
investigations. As a result, I am familiar with how drug traffickers speak to each other
and generally conduct business. For example, I am aware that drug traffickers discussing
criminal matters over the phone often speak in code or in vague terms. I am also aware
that these subjects frequently (1) provide false subscriber information to the service
providers, (2) use phones which are subscribed to under identities other than their own,
and (3) change phones in order to avoid detection by law enforcement. This training and
experience forms the basis for my opinions expressed below. All dates and times listed
below are approximate unless otherwise noted.
PURPOSE OF AFFIDAVIT
6. This Affidavit is submitted in support of an application for a warrant to
search three cellular phones (collectively, the “subject digital devices”) seized on October
7, 2019, and presently in the secure custody of the DEA in Tacoma, Washington, for
evidence, fruits and instrumentalities of drug trafficking and money laundering crimes
committed by Doriam German MORENO-Rocha and Adrian Alberto SANCHEZ-
Esparza, in violation of Title 21, United States Code, Sections 841(a)(1) and 846, and
Title 18, United States Code, Section 1956, as further described in Attachment B.
7. The subject digital devices are described as follows:
a. A Red Apple iPhone in a clear protective case (marked as DEA
Non-Drug Exhibit N-8); |
b. A Black Samsung phone in a gray and black case (marked as DEA
Non-Drug Exhibit N-7; and
C. An Apple iPhone in a red case (marked as DEA Non-Drug Exhibit
N-9).
8. The three subject digital devices were seized during a traffic stop and
subsequent arrest of Doriam German MORENO-Rocha (aka “Popeye”) and Adrian

Alberto SANCHEZ-Esparza, which occurred on October 7, 2019, in Kent, Washington.

Affidavit of TFO Hamilton - 3 UNITED STATES eee
USAO 2019R00280 700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
_ (206) 553-7970
 

Oo eo IN HN WwW BP W YN

NO wPO NH WH KH NY HY WN HN KH KH KF FF KF FEF OS ESF ES
Con DN UN BP WO NY KH TCT HO Fn Hw” SBP WY NY | S&S

 

 

Case 3:19-mj-05206-JRC Document1 Filed 10/10/19 Page 5 of 25

9. I make this request based on the evidence described below, which
establishes probable cause to believe that the subject digital devices were used to
facilitate drug trafficking and money laundering crimes in the Western District of
Washington and elsewhere in violation of 21 U.S.C. §§ 841 and 846, and 18 U.S.C. 1956,
and that the information collected pursuant to the warrant will further the investigation of
these violations.

10. Specifically, the warrant would authorize the forensic examination of the
subject digital devices for the purpose of identifying and seizing the electronically stored
data more particularly described in Attachment B.

SOURCES OF INFORMATION .

11. [have obtained the facts set forth in this Affidavit through my personal
participation in the investigation described below; from oral and written reports of other
law enforcement officers; from witnesses and informants cooperating with law
enforcement, and from records, documents and other evidence obtained during this
investigation. I have obtained and read official reports prepared by law enforcement
officers participating in this investigation and in other investigations.

12. Since I am submitting this Affidavit for the limited purpose of establishing
probable cause to obtain search warrants for the cell phones identified above, I have set
forth only the facts that I believe are necessary to establish probable cause for these
warrants. As set forth herein, I believe Doriam German MORENO-Rocha and Adrian
Alberto SANCHEZ-Esparza used these phones to facilitate drug trafficking and money
laundering crimes.

TECHNICAL TERMS

13. Based on my training and experience, and consultation with other

investigators, I use the following technical terms to convey the following meanings:

a. Wireless telephone: A wireless telephone (or mobile telephone, or
cellular telephone) is a handheld wireless device used for voice and data communication
through radio signals. These telephones send signals through networks of
transmitter/receivers, enabling communication with other wireless telephones or

Affidavit of TFO Hamilton - 4 UNITED STATES ATTORNEY
USAO 2019R00280 700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
 

Oo fe DTN A BP WY NY

N dN HN HN KL PHP DD RO mR mr eet
oD NHN WO FB WD YO KK OD OO fF NHN HD A BP W NY | O&O

 

 

Case 3:19-mj-05206-JRC Document1 Filed 10/10/19 Page 6 of 25

traditional “land line” telephones. A wireless telephone usually contains a “call log,”
which records the telephone number, date, and time of calls made to and from the phone.
In addition to enabling voice communications, wireless telephones offer a broad range of
capabilities. These capabilities include: storing names and phone numbers in electronic
“address books;” sending, receiving, and storing text messages and e-mail; taking,
sending, receiving, and storing still photographs and moving video; storing and playing
back audio files; storing dates, appointments, and other information on personal
calendars; and accessing and downloading information from the Internet. Wireless
telephones may also include global positioning system (“GPS”) technology for
determining the location of the device.

b. Tablet: A tablet is a mobile computer, typically larger than a phone
yet smaller than a notebook that is primarily operated by touching the screen. Tablets
function as wireless communication devices and can be used to access the Internet
through cellular networks, “Wi-Fi” networks, or otherwise. Tablets typically contain
programs called “apps,” which, like programs on a personal computer, perform different
functions and save data associated. with those functions. Apps can, for example, permit
accessing the Web, sending and receiving e-mail, accessing banking sites, and
participating in Internet social networks. A common example of a tablet is an Apple
iPad.

c. Internet: The Internet is a global network of computers and other
electronic devices that communicate with each other. Due to the structure of the Internet,
connections between devices on the Internet often cross state and international borders,
even when the devices communicating with each other are in the same state.

COMPUTERS, WIRELESS TELEPHONES/TABLETS, ELECTRONIC
STORAGE, AND FORENSIC ANALYSIS
14. Based on my knowledge, training, and experience, I know that digital
devices (including wireless telephones, tablets, and personal computers including
laptops) and electronic storage media can store information for long periods of time.
Similarly, things that have been viewed via the Internet are typically stored for some
period of time on the device used to access the Internet. This information can sometimes
be recovered with forensic tools.
15. There is probable cause to believe that things that were once stored on the

subject digital devices may still be stored there, for at least the following reasons:

Affidavit of TFO Hamilton - 5 UNITED STATES ATTORNEY
USAO 2019R00280 700 STEWART STREET, SUITE

SEATTLE, WASHINGTON 98101
(206) 553-7970
Co Oe NN UH BP WY NY

NO PO NYO NH ND NH HD KN HN KH BR SB KR BR Se it
oOo tT DH OO FP WD YN K§ CO O fF nN HD A BR WO NY YF OS

 

 

Case 3:19-mj-05206-JRC Document1 Filed 10/10/19 Page 7 of 25

a. Based on my knowledge, training, and experience, I know that
computer files or remnants of such files can be recovered months or even years after they
have been downloaded onto a storage medium, deleted, or viewed via the Internet.
Electronic files downloaded to a storage medium can be stored for years at little or no
cost. Even when files have been deleted, they can be recovered months or years later _
using forensic tools. This is so because when a person “deletes” a file on a computer, the
data contained in the file does not actually disappear; rather, that data remains on the
storage medium until it is overwritten by new data.

b. Therefore, deleted files, or remnants of deleted files, may reside in
free space or slack space—that is, in space on the storage medium that is not currently
being used by an active file—for long periods of time before they are overwritten. In
addition, a computer’s operating system may also keep a record of deleted data in a
“swap” or “recovery” file.

c. Wholly apart from user-generated files, computer storage media—in
particular, computers’ internal hard drives—contain electronic evidence of how a
computer has been used, what it has been used for, and who has used it. To give a few
examples, this forensic evidence can take the form of operating system configurations,
artifacts from operating system or application operation, file system data structures, and
virtual memory “swap” or paging files. Computer users typically do not erase or delete
this evidence, because special software is typically required for that task. However, it is
technically possible to delete this information.

d. Similarly, files that have been viewed via the Internet are sometimes
automatically downloaded into a temporary Internet directory or “cache.”

16. _ As further described in Attachment B, this application seeks permission to
locate not only electronically stored information that might serve as direct evidence of the
crimes described on the warrants, but also forensic evidence that establishes how the |
subject digital devices were used, the purpose of their use, who used them, and when.
There is probable cause to believe that this forensic electronic evidence might be on the
subject digital devices because:

a. Data on the storage medium can provide evidence of a file that was
once on the storage medium but has since been deleted or edited, or of a deleted portion
of a file (such as a paragraph that has been deleted from a word processing file). Virtual
memory paging systems can leave traces of information on the storage medium that show
what tasks and processes were recently active. Web browsers, e-mail programs, and chat
programs store configuration information on the storage medium that can reveal

Affidavit of TFO Hamilton - 6 UNITED STATES ATTORNEY
USAO 2019R00280 700 STEWART STREET, SUITE 5

SEATTLE, WASHINGTON 98101
(206) 553-7970
Co me nN NH WH BP WW NY

Po NO HP KH HN HD HD KN DO wR mm ee
oat NHN ON BP WOW NYY K§ OD OO Oo ~——>e KH A BP WO NY —&§ &

 

 

Case 3:19-mj-05206-JRC Document1 Filed 10/10/19 Page 8 of 25

information such as online nicknames and passwords. Operating systems can record
additional information, such as the attachment of peripherals, the attachment of USB
flash storage devices or other external storage media, and the times the computer was in
use. Computer file systems can record information about the dates files were created and
the sequence in which they were created.

b. As explained herein, information stored within a computer and other
electronic storage media may provide crucial evidence of the “who, what, why, when, ~
where, and how” of the criminal conduct under investigation, thus enabling the United
States to establish and prove each element or alternatively, to exclude the innocent from
further suspicion. In my training and experience, information stored within a computer
or storage media (e.g., registry information, communications, images and movies,
transactional information, records of session times and durations, internet history, and
anti-virus, spyware, and malware detection programs) can indicate who has used or
controlled the computer or storage media. This “user attribution” evidence is analogous
to the search for “indicia of occupancy” while executing a search warrant at a residence.
The existence or absence of anti-virus, spyware, and malware detection programs may
indicate whether the computer was remotely accessed, thus inculpating or exculpating the
computer owner and/or others with direct physical access to the computer. Further,
computer and storage media activity can indicate how and when the computer or storage
media was accessed or used. For example, as described herein, computers typically —
contain information that log: computer user account session times and durations,
computer activity associated with user accounts, electronic storage media that connected
with the computer, and the IP addresses through which the computer accessed networks
and the internet. Such information allows investigators to understand the chronological
context of computer or electronic storage media access, use, and events relating to the
crime under investigation.! Additionally, some information stored within a computer or
electronic storage media may provide crucial evidence relating to the physical location of
other evidence and the suspect. For example, images stored on a computer may both
show a particular location and have geolocation information incorporated into its file
data. Such file data typically also contains information indicating when the file or image
was created. The existence of such image files, along with external device connection
logs, may also indicate the presence of additional electronic storage media (e.g., a digital
camera or cellular phone with an incorporated camera). The geographic and timeline
information described herein may either inculpate or exculpate the computer user. Last,

 

! For example, if the examination of a computer shows that: a) at 11:00am, someone using the
computer used an internet browser to log into a bank account in the name of John Doe; b) at
11:02am the internet browser was used to download child pornography; and c) at 11:05 am the
internet browser was used to log into a social media account in the name of John Doe, an

investigator may reasonably draw an inference that John Doe downloaded child pornography.
Affidavit of TFO Hamilton - 7 UNITED STATES ATTORNEY
TEWART STREET, SUITE
USAO 2019R00280 SEATTLE, WASHINGTON 98101
(206) 553-7970

 
 

Co FF ND UT KR WY HN

dD Bb BN WO HK HO HO HN HNO LH KF KF FS KF OF Oe eS
oo ~~ NHN OF BP WD DH KH COC CO TF TIT HD A BW NO —& S&S

 

 

Case 3:19-mj-05206-JRC Document1 Filed 10/10/19 Page 9 of 25

information stored within a computer may provide relevant insight into the computer

user’s state of mind as it relates to the offense under investigation. For example,
information within the computer may indicate the owner’s motive and intent to commit a
crime (e.g., internet searches indicating criminal planning), or consciousness of guilt
(e.g., running a “wiping” program to destroy evidence on the computer or password
protecting/encrypting such evidence in an effort to conceal it from law enforcement).

C. A person with appropriate familiarity with how an electronic device
works may, after examining this forensic evidence in its proper context, be able to draw
conclusions about how electronic devices were used, the purpose of their use, who used
them, and when.

d. The process of identifying the exact electronically stored
information on a storage medium that are necessary to draw an accurate conclusion is a
dynamic process. Electronic evidence is not always data that can be merely reviewed by
a review team and passed along to investigators. Whether data stored on a computer is
evidence may depend on other information stored on the computer and the application of
knowledge about how a computer behaves. Therefore, contextual information necessary
to understand other evidence also falls within the scope of the warrant.

e. Further, in finding evidence of how a device was used, the purpose
of its use, who used it, and when, sometimes it is necessary to establish that a particular
thing is not present on a storage medium.

17. Because these warrants seek only permission to examine the subject digital
devices already in law enforcement’s possession, execution of these warrants does not °
involve the physical intrusion onto a premises. Consequently, I submit there is
reasonable cause for the Court to authorize execution of the warrants at any time in the
day or night.

" SUMMARY OF PROBABLE CAUSE

18. Investigators with the Tacoma DEA and King County Sheriffs Office have
been conducting a joint investigation into the HERNANDEZ DTO since October of
2018. The HERNANDEZ DTO has been identified as a local drug distribution group
that obtains heroin and methamphetamine from Mexico-based sources and local sources.
The DTO then distributes these drugs in Western Washington. Investigators are currently
intercepting (with court authorization) phones used by DTO head Daniel HERNANDEZ,

Affidavit of TFO Hamilton - 8 UNITED STATES ATTORNEY
USAO 2019R00280 700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
Oo fF SID On FR WY YH

NO wo bP HO KH HN KN HN HN KH He HS KF KF FR OF Or OS
oO “SN UO BP WH NYO KH Oo OBO PMH HDD NH SP WD NY —& OC

 

 

Case 3:19-mj-05206-JRC Document1 Filed 10/10/19 Page 10 of 25

DTO runner Norberto FLORES-Lopez, and local source of supply Omar SALAZAR.
This is the fourth period of authorized interception during the immediate investigation of
the HERNANDEZ DTO.

19. During these interception periods, investigators identified one of the DTO’s
Mexico-based sources of supply as Juan MORENO-Rocha; MORENO-Rocha uses the
moniker “Cachin.” Based on numerous intercepted calls, investigators knew that Juan
MORENO-Rocha supplied both heroin and methamphetamine to the DTO. Investigators
also learned from these intercepted communications that Juan MORENO-Rocha worked
with his brother, who went by the moniker “Popeye.” Investigators believed that
“Popeye” could be Doriam MORENO-Rocha.

20. On October 4, 2019, starting at 10:02 a.m., investigators intercepted
multiple text messages between Daniel HERNANDEZ (TT1) and Juan MORENO-Rocha
(52-667-572-0000) regarding a shipment of drugs that Juan MORENO-Rocha was
planning on shipping to HERNANDEZ. Investigators had determined that Mexican
telephone number 52-667-572-0000 was associated with Juan MORENO-Rocha because
HERNANDEZ referred to the user of this phone number as “Cachin,” a known moniker
for Juan MORENO-Rocha. The text message exchange between HERNANDEZ (TT1)
and Juan MORENO-Rocha was in Spanish and has been transcribed by DEA-contracted
linguists as follows:

HERNANDEZ (Session 7301): 22 for the dark one, family.

HERNANDEZ (Session 7303): I'll give you the information about the

water in an hour.

Juan MORENO-Rocha (Session 7315): Okay, sounds good. Thanks.

HERNANDEZ (Session 7332): I wanted to see if they were ready with

one of water, but they haven’t taken

anything out.

Affidavit of TFO Hamilton - 9 UNITED STATES ATTORNEY

700 STEWART STREET, SUITE 5220
USAO 2019R00280 ; SEATTLE, WASHINGTON 98101

(206) 553-7970
 

oO fe IN DN A FP WY NY

bo N bd No NO wv NO wp NO — = — — eek et
on NN ATW RFR WD NY KH Oo Oo ON DN AH BPW NY KF OC

 

 

Case 3:19-mj-05206-JRC Document1 Filed 10/10/19 Page 11 of 25

HERNANDEZ (Session 7334): Honestly dude, I’m trying my best, but
nothing is coming out, and I’m heading
downhill very badly.

Juan MORENO-Rocha (Session 7336): Dude, you had told me 30 of water and

| 25 of night, last time I had called you.

HERNANDEZ (Session 7338): Yes, but these guys aren’t ready, dude.

HERNANDEZ (Session 7340):. They haven’t taken anything out.

21. Investigators later intercepted a call (Session 7344) between HERNANDEZ
and Juan MORENO-Rocha. During this conversation, Juan MORENO-Rocha spoke to
HERNANDEZ about HERNANDEZ making a payment. Juan MORENO-Rocha
indicated he had a shipment of drugs ready to go, but said the people in Mexico wanted to
get a payment from HERNANDEZ first. Following this call, investigators then
intercepted multiple calls between HERNANDEZ and DTO members FLORES-Lopez
and Fernando BAUTISTA-Sanchez in which HERNANDEZ attempted to collect money
for the upcoming shipment of drugs.

22. At7:16 p.m., investigators intercepted a call (Session 7584) between
HERNANDEZ and Juan MORENO-Rocha. During this call, Juan MORENO-Rocha told
HERNANDEZ, “I have a little surprise for you. Just like last time.” HERNANDEZ
replied, “Oh, really? What? Is your brother here already or what?” Investigators had
previously identified Juan MORENO-Rocha’s brother as a person who used the moniker
“Popeye” and had tentatively identified him as Doriam German MORENO-Rocha, based
on investigators’ searches of social media accounts and law enforcement databases.
During prior intercepted calls, investigators learned that “Popeye” worked with Juan
MORENO-Rocha to traffic drugs from Mexico to the United States. Juan MORENO-
Rocha answered HERNANDEZ’s question, stating, “Yes, the dude is around there, and I
wanted to see if he would call you....well, he is going to call you there, to see if you can
meet him there.” HERNANDEZ and Juan MORENO-Rocha continued to talk about

HERNANDEZ meeting up with “Popeye,” apparently to talk about the current

Affidavit of TFO Hamilton - 10 UNITED STATES ATTORNEY
USAO 2019R00280 700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
 

Oo Fe NDB A BP WD NO

oOo NN UH SF WYP KF OF Oo FH HD HN Ff WY KK SC

 

 

Case 3:19-mj-05206-JRC Document 1 Filed 10/10/19 Page 12 of 25

arrangement between HERNANDEZ and both Juan MORENO-Rocha and “Popeye.”
HERNANDEZ told Juan MORENO-Rocha he was glad that “Popeye” was here so that
he (HERNANDEZ) could “focus more on the street.” |

23. Through additional intercepted calls, investigators learned that
HERNANDEZ was going to meet “Popeye” at an JHOP restaurant (at 610 Rainier
Avenue South, Renton, Washington) in the evening of October 4, 2019. Investigators
also learned that FLORES-Lopez was going to pick HERNANDEZ and take
HERNANDEZ to the meet. Investigators set up surveillance on the JHOP parking lot
and observed HERNANDEZ and FLORES-Lopez arrive at 8:27 p.m., in FLORES-
Lopez’s father’s vehicle (bearing Washington license BNS7043).

24. At 8:26 p.m., investigators intercepted a call (Session 7609) between
telephone number 206-712-9375 and HERNANDEZ (TT1). From the context of the call,
agents believed “Popeye” was the male user of 206-712-9375. “Popeye” stated that he
was taking an exit off the highway and would be to HERNANDEZ soon. At 8:37 p.m.,
investigators observed a silver BMW (bearing Washington license AGW4609) pull up to
the front of IHOP and park. A Hispanic male exited the vehicle; HERNANDEZ met the
male at the door and they both entered the business. Investigators researched the
licensing information for the BMW and learned it was registered to Juan MORENO-
Rocha’s wife, Daniela Medina-Rosas at her father’s address of 708 South Kenyan Street,
Seattle, Washington.

25. Investigators entered the IHOP and located HERNANDEZ sitting with the
male who exited Medina-Rosas’ BMW. Investigators positively identified the male as
Doriam German MORENO-Rocha by comparison to an immigration enforcement photo
of Doriam MORENO-Rocha. HERNANDEZ sat and talked with Doriam MORENO-
Rocha from approximately 8:37 p.m. to 10:24 p.m. before leaving. FLORES-Lopez
picked up HERNANDEZ in the same vehicle they had arrived in, and Doriam
MORENO-Rocha left in the same vehicle he had arrived in.

Affidavit of TFO Hamilton - 11 UNITED STATES ATTORNEY
USAO 2019R00280 700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
 

oOo eo NIN HD DW FF WD YN

NO PO NH HN HN KN NH NY HNO KH RK RR RB RB RS eR
oN DN OH SP WY HO KH OD OO fH HIND HD A BR WY NY —- S&S

 

 

Case 3:19-mj-05206-JRC Document1 Filed 10/10/19 Page 13 of 25

26. On October 5, 2019, investigators intercepted multiple text messages
between HERNANDEZ (TT1) and DTO member Fernando BAUTISTA-Sanchez. These
texts started initially talking about “Popeye” wanting to meet with BAUTISTA-Sanchez,
but BAUTISTA-Sanchez not wanting to. At 10:44 a.m., investigators intercepted a text
(Session 7669) from HERNANDEZ (TT1) to BAUTISTA-Sanchez that read, “Honestly
man, it’s good he came, I told pariente to not send water and he sent like 15k.” From
other information learned during the course of this investigation, investigators know
“Pariente” to be a reference to Juan MORENO-Rocha and “15 k” to mean 15 kilograms.
“Water” is a common code word for methamphetamine. . |

27. _ On October 6, 2019, at 8:30 p.m., investigators intercepted a call (Session
8199) between Doriam MORENO-Rocha (206-712-9375) and HERNANDEZ (TT1).
Both parties greeted each other. Doriam MORENO-Rocha then said, “I was checking,
you told me sixteen, but it’s fifteen.” HERNANDEZ replied, “No, it’s sixteen.” Doriam
MORENO-Rocha said, “No, it’s five, five, four, and one.” HERNANDEZ replied,
“Really?” Investigators believe this meant that HERNANDEZ had made a $15,000.00
cash payment to Doriam MORENO-Rocha but thought he had paid $16,000.00.

28. Doriam MORENO-Rocha then appeared to ask HERNANDEZ if the other
payment was going to be correct. Doraim MORENO-Rocha said, “I just checked it. I
checked it, and then I said, ‘I am going to call you right away.’ The other ones, are you
sure are the three two? Because I told them over there that what it was.” HERNANDEZ
replied, “Thirty-two, yes. There are four packs of, of five, and then, uh, twelve of, of
one.” This suggested that HERNANDEZ had packaged $32,000.00 cash into four
bundles of $5,000.00 each (totaling $20,000.00) and twelve bundles of $1,000.00 each |
(totaling $12,000.00). This also suggested to investigators that HERNANDEZ was
sending a total of $47,000.00 to Mexico, via Doriam MORENO-Rocha, knowing that a
shipment of drugs was on its way to him (HERNANDEZ) in Washington.

29. Doriam MORENO-Rocha and HERNANDEZ continued to talk about the

shipment of drugs that was on its way. HERNANDEZ told Doriam MORENO-Rocha

Affidavit of TFO Hamilton - 12 UNITED STATES ATTORNEY
USAO 2019R00280 700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
 

oO Oo SI DH WA BP WY NO

mM NO WH HP HN KO KH KH HN &. eS eRe HR BS FF eS
oO ss HN A FP WD NYO SK OF CO FP nD OX BSB YW NYO | &

 

 

Case 3:19-mj-05206-JRC Document 1 Filed 10/10/19 Page 14 of 25

that he (HERNANDEZ) was going to bring over gloves, a vacuum sealer, and tape.
HERNANDEZ then said, “We are going to check one, we are going to open one right?
So, we can see it?” Doriam MORENO-Rocha replied, “That’s what I was thinking,
because it seems that one of them is one-six. We can open it, and then we’ll divide that
one among us. This way we don’t have to alter it, and avoid shrink it.” HERNANDEZ
then replied, “Yes, we need to open it and check it. Valedor [ISLAS-Estrada] has
aluminum over there.” Investigators believe that Doriam MORENO-Rocha was
implying that one of the inbound packages weighed only 16 ounces, and that they could
open that one to test it. When HERNANDEZ stated that ISLAS-Estrada has aluminum,
that suggested to investigators that heroin was included in the shipment with
methamphetamine (since burning heroin on aluminum foil is a way in which the quality
of heroin can be tested).

30. . HERNANDEZ and Doriam MORENO-Rocha then discussed the shipment
itself. Doriam MORENO-Rocha told HERNANDEZ that the shipment was going to
arrive around 2:00 a.m. to 3:00 a.m. that night/morning. Doriam MORENO-Rocha and
HERNANDEZ, agreed to meet at ISLAS-Estrada’s residence around 6:00 a.m. (on
October 7, 2019) to get the drugs out of the load vehicle.

31. On October, 7, 2019, at approximately 5:45 a.m., investigators set up
surveillance on ISLAS-Estrada’s residence (20631 26th Avenue South, Seatac,
Washington). Investigators checked the footage from mounted surveillance video camera
that points northbound on 26th Avenue South towards ISLAS-Estrada’s residence.
Investigators noticed that an SUV had arrived at ISLAS-Estrada’s residence at 2:31 a.m.,
and that the SUV appeared to have been followed by ISLAS-Estrada’s vehicle (a white
2006 Honda Civic bearing Washington license BGY5960). Investigators also observed
(via the surveillance camera) that Doriam MORENO-Rocha appeared to arrive at ISLAS-
Estrada’s residence at 6:40 a.m. Investigators on physical surveillance were able to
confirm that the last two digits on the license plate of a vehicle that had pulled up outside

the residence were “09,” which was consistent with the license plate on the BMW

Affidavit of TFO Hamilton - 13 OSE es en
TEWART STREET, SUITE
USAO 2019R00280 SEATTLE, WASHINGTON 98101
(206) 553-7970
 

Oo Fe TID Nn HE WY VN =

mo NO NO NYO HNO NY NO NO NN HS HF HF FF FO Se HE RPO ee
oo aI Nn A FP WD NY K§ OF CO DON HDR WH FBP WHO NYO KK OS

 

 

Case 3:19-mj-05206-JRC Document1 Filed 10/10/19 Page 15o0f25 .

(Washington AGW4609) Doriam MORENO-Rocha had previously driven to meet
HERNANDEZ. Investigators noticed a silver Volkswagen arrive around the same time
(around 6:40 a.m.). Investigators knew that HERNANDEZ had previously used a silver
Volkswagen (bearing Washington license AVP1571) in the past, and that BAUTISTA-
Sanchez had been using it recently.

32. Investigators observed several people walking in and around the area of the
garage/carport, which is to the south of the residence. This was consistent with the
contents of the prior intercepted call regarding having to get the drugs out of the load car.
At 7:38 a.m., investigators saw (via the mounted surveillance camera and physical
surveillance) HERNANDEZ walk away from the area of ISLAS-Estrada’s garage and
toward the Volkswagen. It did not appear that HERNANDEZ was carrying anything in
his hands when he went to the car; an intercepted call suggested that he was going to go
pick up his nephew and drive him to school.

33. At 8:16 a.m., investigators (via the mounted surveillance camera and
physical surveillance) noticed that someone drove Doriam MORENO-Rocha’s BMW:
into ISLAS-Estrada’s garage area where investigators suspect the load vehicle was
parked. To investigators, there appeared to be no reason to do so unless the men were
planning on putting something into the vehicle and wanted to do it in privacy. At 8:37
p.m., investigators observed the BMW back out of ISLAS-Estrada’s garage area and
drive away. Investigators confirmed the license plate was Washington AGW4609, i.e.,
the same vehicle Doriam MORENO-Rocha was seen previously using.

34. At 8:48 a.m., investigators conducted a traffic stop of the BMW. Doriam
MORENO-Rocha was driving and Adrian Alberto SANCHEZ-Esparza was the
passenger. Both were identified through their respective Mexico-issued photo IDs.
Because Doriam MORENO-Rocha and Adrian Alberto SANCHEZ-Esparza were both
acting nervous, investigators placed them in handcuffs for officer safety. A drug-

detection K9 gave a positive indication on the passenger’s door area of the car.

Affidavit of TFO Hamilton - 14 UNITED STATES ATTORNEY
USAO 2019R00280 700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
 

So Oo SIN A BP WY NO

mo po NbN VY KH HN HN NY NO = | HF KF KF Fe OF OS lS
oN NWN On FP WD NY KK Oo OO BAN HD WH BP WD NY KF &

 

 

Case 3:19-mj-05206-JRC Document 1 Filed 10/10/19 Page 16 of 25

35. | Doriam MORENO-Rocha was in possession of the red Apple iPhone
(Exhibit N-8). Adrian SANCHEZ-Esparza was in possession of the Apple iPhone
(Exhibit N-9. The third cell phone (the Samsung in a black/gray case, Exhibit N-7) was
in the center console of the vehicle.

36. Investigators determined Doriam MORENO-Rocha and Adrian
SANCHEZ-Esparza were both in the county illegally. Officers with U.S. Immigration
and Customs Enforcement (ICE) responded and took custody of Doriam MORENO-
Rocha and Adrian SANCHEZ-Esparza. Investigators noticed that both of Adrian
SANCHEZ-Esparza’s hands were recently cut up and scraped; these injuries were
consistent with him reaching into a trap or void area of a vehicle used to secrete
narcotics. Investigators took photos of his hands. |

37. Investigators then searched the BMW and located a large duffel type bag in
the trunk of the vehicle. Inside this bag, investigators located approximately 15
kilograms of suspected methamphetamine and 5.5 kilograms of suspected heroin in
addition to cash and other evidentiary items. The drugs and the evidentiary items were
transported back to the DEA Tacoma and placed in the secure evidence room.

38. At12:12 p.m., investigators intercepted a call (Session 8228) between
HERNANDEZ (TT1) and ISLAS-Estrada pertaining to HERNANDEZ and Juan
MORENO-Rocha trying to locate Doriam MORENO-Rocha. HERNANDEZ asked
ISLAS-Estrada what time “Popeye” and “Zorro” left. Investigators had intercepted
several calls previously where “Zorro” was described as a courier for the MORENO-
Rocha brothers, so this call suggested that “Zorro” was Adrian SANCHEZ-Esparza.
ISLAS-Estrada replied to HERNANDEZ that both Doriam MORENO-Rocha and Adrian
SANCHEZ-Esparza had left in the BMW with the drugs that had just been shipped up to

Washington.
Affidavit of TFO Hamilton - 15 UNITED STATES ATTORNEY
USAO 2019R00280 700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
 

Oo Oe NIN HD HH BR WY YN

BD NO bd NH BH HO ND HN WN HH HH & HF KF KF FSF Sh Se
os NAN UO BP WY NYO KH OD OO FAN KH WH FP WN | O&O

 

 

Case 3:19-mj-05206-JRC Document1 Filed 10/10/19 Page 17 of 25

COMMON CHARACTERISTICS OF DRUG TRAFFICKERS
AND MONEY LAUNDERERS

39. Based upon my training, experience, and participation in this and other
investigations involving narcotics trafficking and money laundering, my conversations
with other experienced investigators and law enforcement investigators with whom I
work, and interviews of individuals who have been involved in money laundering and the
trafficking of methamphetamine, cocaine, fentanyl and other drugs, I have learned and
know the following. |

40. Drug traffickers use mobile electronic devices including cellular
telephones, tablets and other wireless communication devices to conduct their illegal
trafficking business and money laundering activities. As described below, such
equipment often contains evidence of these illegal activities.

41.  Traffickers of controlled substances commonly maintain addresses,
vehicles, or telephone numbers that reflect names, addresses, vehicles, and/or telephone
numbers of their suppliers, customers, and associates in the trafficking organization, and
it is common to find drug traffickers keeping records of said associates in cellular
telephones and other electronic devices. Traffickers often maintain cellular telephones
for ready access to their clientele and to maintain their ongoing narcotics business.
Traffickers frequently change their cellular telephone numbers to avoid detection by law
enforcement, and it is common for traffickers to use more than one cellular telephone at
any one time.

42. Drug traffickers and Money Launderers use cellular telephones as a tool or
instrumentality in committing their criminal activity. They use them to maintain contact
with their suppliers, distributors, and customers. They prefer cellular telephones because,
first, they can be purchased without the location and personal information that landlines
require. Second, they can be easily carried to permit the user maximum flexibility in
meeting associates, avoiding police surveillance, and traveling to obtain or distribute

drugs and money. Third, they can be passed between members of a drug and money

Affidavit of TFO- Hamilton - 16 UNITED STATES ATTORNEY
USAO 2019R00280 700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
 

Oo eS nN NH OF FP W YN

NO WHO NO NH NH WN NY NY NO KH KY KF HF HF HF FSF Se
eo DA WA FF W YY KY TO FH HD nA fF WN = O&O

 

 

Case 3:19-mj-05206-JRC Document1 Filed 10/10/19 Page 18 of 25

conspiracy to allow substitution when one member leaves the area temporarily. Since
cellular phone use became widespread, every drug dealer and money launderer I have
interacted with has used one or more cellular telephones for his or her drug and money —
business. I also know that it is common for drug traffickers and money launderers to
retain in their possession phones that they previously used, but have discontinued actively
using, for their drug trafficking and money laundering business. Based on my training
and experience, the data maintained in a cellular telephone used by a drug dealers and
money launderers is evidence of a crime or crimes. This includes the following:

a. The assigned number to the cellular telephone (known as the mobile
directory number or MDN), and/or the identifying telephone serial number (Electronic
Serial Number (ESN), Mobile Identification Number (MIN), International Mobile
Subscriber Identity (MSI) number, or International Mobile Equipment Identity (IMEI)
number) are important evidence because they reveal the service provider, allow agents to
obtain subscriber information, and uniquely identify the telephone. This information can
be used to obtain toll records, to identify contacts by this telephone with other cellular
telephones used by co-conspirators, to identify other telephones used by the same
subscriber or purchased as part of a package, and to confirm if the telephone was
contacted by a cooperating source.

b. The stored list of recent received calls and sent calls is important
evidence. It identifies telephones recently in contact with the telephone user. This is
valuable information in a drug investigation because it will identify telephones used by
other members of the organization, such as suppliers, distributors and customers, and it
confirms the date and time of contacts. If the user is under surveillance, it identifies what
number he called during or around the time of a surveilled drug transaction or meeting.
Even if a contact involves a telephone user not part of the conspiracy, the information is
helpful (and thus is evidence) because it leads to friends and associates of the user who

can identify the user, help locate the user, and provide information about the user.

Affidavit of TFO Hamilton - 17 UNITED STATES ATTORNEY

700 STEWART STREET, SUITE 5220
USAO 2019R00280 SEATTLE, WASHINGTON 98101

(206) 553-7970
 

Oo eo NT HD On BP WY YPN

Ww NNN NY NY NWN WK BB ew ee ee em ee
SoU A Ak OND KF SF Ce QD AAR HOHE OS

 

 

Case 3:19-mj-05206-JRC Document1 Filed 10/10/19 Page 19 of 25

Identifying a defendant’s law-abiding friends is often just as useful as identifying his
drug-trafficking and money laundering associates.

c. Stored text messages are important evidence, similar to stored
numbers. Agents can identify both drug associates, and friends of the user who likely
have helpful information about the user, his location, and his activities.

d. Photographs and videos on a cellular telephone are evidence because
they help identify the user, either through his or her own picture, or through pictures of
friends, family, and associates that can identify the user. Pictures also identify associates
likely to be members of the MLDTO organization. Also, digital photos often have
embedded “geocode” information within them. Geocode information is typically the
longitude and latitude where the photo was taken. Showing where the photo was taken
can have evidentiary value. This location information is helpful because, for example, it
can show where coconspirators meet, where they travel, and where assets might be
located.

e. Stored address records are important evidence because they show the
user’s close associates and family members, and they contain names and nicknames
connected to phone numbers that can be used to identify suspects.

f. It is common for drug traffickers and money launderers to use
encrypted means of communication, such as WhatsApp, Silent Circle, Signal, Wickr, and
Telegram, to attempt to avoid detection by law enforcement. It is common for drug
traffickers and money launderers to install and use these apps on their phones in order to
make encrypted calls and send encrypted messages.

43. As outlined above, drug traffickers and in particular money launderers also
use computers to conduct their illicit activities. Many common cell phone and tablet
messaging applications, including but not limited to WhatsApp and Apple’s iMessage
have counterparts on laptop and desktop computers. In addition, as outlined above, it is
common for individuals, including in particular money launderers, to access online

banking information via a computer.

Affidavit of TFO Hamilton - 18 UNITED STATES ATTORNEY

700 STEWART STREET, SUITE 5220
USAO 2019R00280 SEATTLE, WASHINGTON 98101

(206) 553-7970
 

eo Oe ND nH SP WY NY

bo NO bd NO to bo NO bw NO oe —_ on — —
on NN UH BR WH NY KH CO CO MAT HD NX BP WD NY KS SO

 

 

Case 3:19-mj-05206-JRC Document1 Filed 10/10/19 Page 20 of 25

SEARCH TECHNIQUES
44. Based on the foregoing, and consistent with Rule 41(e)(2)(B) of the Federal

Rules of Criminal Procedure, the warrants I am applying for will permit imaging or
otherwise copying all data contained on the subject digital devices, and will specifically
authorize a review of the media or information consistent with the warrants.

45. In accordance with the information in this Affidavit, law enforcement
personnel will execute the search of the subject digital devices pursuant to these warrants
as follows:

a. Securing the Data

i. In order to examine the ESI in a forensically sound manner,
law enforcement personnel with appropriate expertise will attempt to produce a complete
forensic image, if possible and appropriate, of the subject digital devices.”

ii. Law enforcement will only create an image of data physically
present on or within the subject digital devices. Creating an image of the subject digital
devices will not result in access to any data physically located elsewhere. However,
subject digital devices that have previously connected to devices at other locations may
contain data from those other locations.

Hf
/

 

2 The purpose of using specially trained computer forensic examiners to conduct the imaging of
digital devices or other electronic storage media is to ensure the integrity of the evidence and to
follow proper, forensically sound, scientific procedures. When the investigative agent is a
trained computer forensic examiner, it is not always necessary to separate these duties.

Computer forensic examiners often work closely with investigative personnel to assist
investigators in their search for digital evidence. Computer forensic examiners are needed
because they generally have technological expertise that investigative agents do not possess.
Computer forensic examiners, however, often lack the factual and investigative expertise that an
investigative agent may possess on any given case. Therefore, it is often important that

computer forensic examiners and investigative personnel work closely together.
Affidavit of TFO Hamilton - 19 woe ne een
TEWART STREET, SUITE
USAO 2019R00280 SEATTLE, WASHINGTON 98101
(206) 553-7970
 

Oo fe IHD nH FP WY NO

Oo NB NY NY NY NY NY DR
oO NTN nN FP WD NY KF CO OO FH DH FP WW NY YF &

 

 

Case 3:19-mj-05206-JRC Document1 Filed 10/10/19 Page 21 of 25

b. Searching the Forensic Images

i. Searching the forensic images for the items described in
Attachment B may require a range of data analysis techniques. In some cases, it is
possible for agents and analysts to conduct carefully targeted searches that can locate
evidence without requiring a time-consuming manual search through unrelated materials
that may be commingled with criminal evidence. In other cases, however, such
techniques may not yield the evidence described in the warrant, and law enforcement
may need to conduct more extensive searches to locate evidence that falls within the
scope of the warrant. The search techniques that will be used will be only those
methodologies, techniques and protocols as may reasonably be expected to find, identify,
segregate and/or duplicate the items authorized to be seized pursuant to Attachment B to
this Affidavit.
REQUEST FOR SEALING

46. It is respectfully requested that this Court issue an Order sealing, until
further Order of the Court, all papers submitted in support of this application, including
the Affidavit and search warrants. I believe that sealing these documents is necessary
because the warrants are relevant to an ongoing investigation into the criminal
organization. Premature disclosure of the contents of this Affidavit and related
documents may have a significant and negative impact on the continuing investigation
and may severely jeopardize its effectiveness.

CONCLUSION

47, . For the reasons set forth above, I believe there is probable cause to
believe that evidence, fruits, and instrumentalities of violations of Title 21, United States
Code, Sections 841(a)(1), 846 and Title 18, United States Code, Section 1956 will be
found in a search of the three subject digital devices described above, which are presently

/

//

//
Affidavit of TFO Hamilton - 20 UNITED STATES ATTORNEY
USAO 2019R00280 700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
 

Oo fF NY HD A SP WW NY

NY NY NY NY NY NY NY NH NO Ke Ee Re Ee Re Se Ee ORE
on DN ON BP WN KK Oo Oo FHT HH FP WH NY KK OS

 

 

Case 3:19-mj-05206-JRC Document1 Filed 10/10/19 Page 22 of 25

in the secure custody of the DEA in Tacoma, Washington.

 

RYAN J. HAMILTON,
Task Force Officer

LL

Drug Enforcement Administration

Subscribed and sworn to before me this #4 rday of October, 2019.

 

ITED STATES MAGISTRATE JUDGE

Affidavit of TFO Hamilton - 21
USAO 2019R00280

UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101
(206) 553-7970
 

Oo Se IN HD A BPW NY

Oo NO HO NO WN NY HN NWN HN KF HF HF HF FP OF OREO S| eS
ao sn DN UO BP WO HO KF ODO OO MH HN HD A BP W NY KF OS

 

 

Case 3:19-mj-05206-JRC Document1 Filed 10/10/19 Page 23 of 25

ATTACHMENT A
The property to be searched is more particularly described as follows:
a. A Red Apple iPhone in a clear protective case, marked as DEA
Non-Drug Exhibit N-8.
b. A Black Samsung Phone in a gray and black case, marked as
DEA Non-Drug Exhibit N-7.
c. An iPhone in a red case, marked as DEA Non-Drug Exhibit N-9.
All of these items (collectively, the “subject digital devices) are presently in the
secure custody of the DEA in Tacoma, Washington
This warrant authorizes the forensic examination of the subject digital devices for
the purpose of identifying the electronically stored information described in Attachment
B.

Affidavit of TFO Hamilton-22 UNITED STATES ATTORNEY
USAO 2019R00280 700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
 

Oo Fe NIN DK OT FR WD NO

DO bw WN HN HO HN HY HY HN & HF KF HF KF FOO Se
os KN OH BP WY YO KH CO OBO RH DTD ” BSB WO NO —& OS

 

 

Case 3:19-mj-05206-JRC Document1 Filed 10/10/19 Page 24 of 25

ATTACHMENT B
1. All records on the subject digital devices described in Attachment A that
relate to violations of Title 21, United States Code, Sections 841(a)(1), 841(b)(1) and 846
and Title 18, United States Code, Section 2, and involve Doriam German MORENO-
Rocha and Adrian Alberto SANCHEZ-Esparza since October 2018, including:

a. Evidence of the trafficking, importation, exportation, and
manufacture of controlled substances, including methamphetamine and heroin;

b. lists of customers and related identifying information;

c. types, amounts, and prices of drugs trafficked as well as dates,
places, and amounts of specific transactions;

d. any information related to sources of drugs (including names,
addresses, phone numbers, or any other identifying information);

e. any information recording Doriam German MORENO-Rocha and
Adrian Alberto SANCHEZ-Esparza’s schedule or travel from October 2018 to the
present;

f. all bank records, checks, credit card bills, account information, and
other financial records, including all records of the transfer, deposit, wiring or other
transmission of funds between accounts, and records of access of financial or banking
sites on the internet or via applications;

g. all records of applications used for communication purposes and/or
to access financial and banking sites;

g. all records of communications (including but not limited to text
messages, internet-based messaging applications (including but not limited to WhatsApp,
Silent Signal, Wikr, iMessage, Skype, or similar applications and services) regarding the
trafficking, importation, exportation and manufacture of controlled substances and/or the -
movement or other transfer of funds

h. photographs or other images (including but not limited to screen

captures) of controlled substances and/or of records of the deposit or transfer of funds.

Affidavit of TFO Hamilton - 23 UNITED STATES ATTORNEY .
USAO 2019R00280 700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
 

 

Oo Oo NI HD A SP W NY

oO HO HN HN HN NY NY KN NO Ro Be RRR RE
on NO ON BR WO NYO KH CO YO FHA HD NH FP WY NY KF SC

 

 

Case 3:19-mj-05206-JRC Document1 Filed 10/10/19 Page 25 of 25

2. Evidence of user attribution showing who used or owned the subject digital
devices at the time the things described in this warrant were created, edited, or deleted,
such as logs, phonebooks, saved usernames and passwords, documents, and browsing
history;

3. Records evidencing the use of the Internet Protocol addresses used to
communicate with various messaging or banking apps, including:

a. records of Internet Protocol addresses used;

b. records of Internet activity, including firewall logs, caches, browser
history and cookies, “bookmarked” or “favorite” web pages, search terms that the user
entered into any Internet search engine, and records of user-typed web addresses.

4, As to the wireless telephones and tablets, this warrant also authorizes the

following information to be searched for and seized:

i. Assigned number and identifying telephone serial number (ESN,
MIN, IMSI, or IMEI);
ii. Stored list of recent received, sent, or missed calls;

ili. Stored contact information;

iv. Photographs as noted above, or photographs that may show the user
of the phone and/or co-conspirators, including any embedded GPS
data associated with these photographs; and

v. Stored text messages and emails as noted above including Apple
iMessages, Silent Circle, Wikr, Facebook messenger, Blackberry
Messenger messages or other similar messaging services where the
data is stored on the telephone.

As used above, the terms “records” and “information” include all of the foregoing
items of evidence in whatever form and by whatever means they may have been created

or stored, including any form of computer or electronic storage (such as flash memory or

other media that can store data) and any photographic form.

Affidavit of TFO Hamilton - 24 UNITED STATES ATTORNEY
USAO 2019R00280 700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
* (206) 553-7970
